Case 1:21-cv-00456-LEK-RT Document 505 Filed 07/15/24 Page 1 of 10 PageID.10017



                       UNITED STATES DISTRICT COURT

                             DISTRICT OF HAWAII

  JOSHUA SPRIESTERSBACH,                  CIV. NO. 21-00456 LEK-RT

                    Plaintiff,

        vs.

  STATE OF HAWAII, CITY AND
  COUNTY OF HONOLULU, OFFICER
  ABRAHAM K. BRUHN, DEPARTMENT OF
  PUBLIC SAFETY, OFFICE OF THE
  PUBLIC DEFENDER, NIETZSCHE LYNN
  TOLAN, MICHELLE MURAOKA, LESLIE
  MALOIAN, JACQUELINE ESSER, JASON
  BAKER, MERLINDA GARMA, SETH
  PATEK, DR. JOHN COMPTON, DR.
  MELISSA VARGO, DR. SHARON TISZA,
  HAWAII STATE HOSPITAL, DR.
  ALLISON GARRETT, JOHN/JANE DOES
  1-20,

                    Defendants.


        ORDER GRANTING IN PART AND DENYING IN PART PLAINTIFF’S
         MOTION FOR LEAVE TO FILE EXHIBITS 4-13 UNDER SEAL AND
             TO FILE EXHIBITS 4-13 PUBLICLY WITH REDACTIONS

              Before the Court is Plaintiff Joshua Spriestersbach’s

 (“Spriestersbach” or “Plaintiff”) Motion for Leave to File

 Exhibits 4-13 Under Seal and to File Exhibits 4-13 Publicly with

 Redactions (“Motion to Seal”), filed on June 24, 2024. [Dkt.

 no. 490.] On June 28, 2024, Spriestersbach submitted to this

 Court the versions of the exhibits that he proposes to file

 under seal (“6/28 Submission”). On July 5, 2024, Spriestersbach

 submitted the proposed redactions that would be filed publicly
Case 1:21-cv-00456-LEK-RT Document 505 Filed 07/15/24 Page 2 of 10 PageID.10018



 (“7/5 Submission”). The Court finds this matter suitable for

 disposition without a hearing pursuant to Rule LR7.1(c) of the

 Local Rules of Practice for the United States District Court for

 the District of Hawaii (“Local Rules”). Spriestersbach’s Motion

 to Seal is hereby granted in part and denied in part for the

 reasons set forth below. The Motion to Seal is granted insofar

 as Spriestersbach is permitted to file personal identifying

 information under seal, and the Motion to Seal is denied in all

 other respects.

                                 BACKGROUND

             Defendant Allison Garrett, M.D. (“Dr. Garrett”) filed

 her Motion for Summary Judgment on May 29, 2024. [Dkt. no. 459.]

 The exhibits at issue in Spriestersbach’s Motion to Seal are

 exhibits that he relies upon to support his opposition to

 Dr. Garrett’s Motion for Summary Judgment. See generally

 Plaintiff’s Concise Statement of Facts in Support of His

 Opposition to Defendant Garrett’s Motion for Summary Judgment

 (“Plaintiff’s CSOF”), filed 6/24/24 (dkt. no. 488) (containing

 various citations to Exhibits 4 to 13).

             The instant Motion to Seal addresses the following

 exhibits:

 -Exhibit 4, Spriestersbach’s treatment records provided by
      Defendant Hawaii State Hospital (“HSH”);

 -Exhibit 5, HSH records, including correspondence, policies and
      a master recovery plan for Thomas Castleberry;

                                      2
Case 1:21-cv-00456-LEK-RT Document 505 Filed 07/15/24 Page 3 of 10 PageID.10019




 -Exhibit 6, Dr. Garrett’s weekly psychiatric progress notes;

 -Exhibit 7, the report of Spriestersbach’s expert witness,
      Paul S. Applebaum, M.D., dated February 12, 2024;

 -Exhibit 8, the rebuttal report by Dr. Applebaum, dated May 23,
      2024;

 -Exhibit 9, the arrest warrant and incident report for Thomas R.
      Castleberry;

 -Exhibit 10, Spriestersbach’s identity documents produced by
      HSH;

 -Exhibit 11, the report of court-appointed expert, Renée
      Sorrentino, M.D., dated September 14, 2023;

 -Exhibit 12, the letters provided by the panelists that the
      state court appointed to evaluate Spriestersbach’s fitness
      to proceed; and

 -Exhibit 13, a letter by one of the panel examiners that was
      assigned a different bates stamp designation than the
      version included in Exhibit 12.

 See Motion to Seal at 4-6.

                                 DISCUSSION

             At the outset, this Court notes that, although

 Spriestersbach filed the Motion to Seal on June 24, 2024, he did

 not submit the proposed sealed exhibits until June 28, 2024, and

 he did not submit the proposed redacted exhibits until July 5,

 2024. Such a delay is unacceptable. This Court cannot consider

 the merits of a motion to seal without the proposed redacted and

 unredacted exhibits. The parties are therefore CAUTIONED that,

 upon filing a motion to seal, the proposed redacted and

 unredacted exhibits must be submitted within twenty-four hours

                                      3
Case 1:21-cv-00456-LEK-RT Document 505 Filed 07/15/24 Page 4 of 10 PageID.10020



 of the filing of the motion to seal. Failure to do so may result

 in the summary denial of the motion to seal and the exclusion of

 the exhibits from the record of the underlying motion or

 proceeding.

             The general legal standards applicable to

 Spriestersbach’s Motion to Seal are the same as those set forth

 in the Order: Granting Defendant City and County of Honolulu’s

 Motions to Seal, as Amended by the City’s June 5, 2024

 Submissions; Denying Defendant Allison Garrett, M.D.’S Motion to

 Seal Confidential Exhibits; and Denying Plaintiff’s Joinder,

 filed on June 24, 2024 (“6/24/24 Order”), [dkt. no. 484,] and

 they will not be repeated here.

             This Court has previously granted a motion to seal

 materials submitted in support of a motion to dismiss

             to the extent that personal identifying
             information (including but not limited to
             Spriestersbach’s or Thomas Castleberry’s date of
             birth, social security number, personal telephone
             number, personal mailing address, and mother’s
             maiden name) may be redacted and the exhibits
             filed in redacted form, and any medical
             information that goes beyond the claims made in
             this litigation may be redacted and the exhibits
             filed in redacted form. Social security numbers
             and personal telephone numbers shall be redacted,
             except for the last four digits. Personal
             addresses shall be redacted, except for the
             street name and city.

                  If the redacted personal identifying
             information is relevant to the issues presented
             in the Motion to Dismiss, unredacted versions of
             the exhibits shall be filed under seal. . . .

                                      4
Case 1:21-cv-00456-LEK-RT Document 505 Filed 07/15/24 Page 5 of 10 PageID.10021




 [Minute Order – EO: Court Order Granting in Part and Denying in

 Part the PD Defendants’ Motion to Seal, filed 4/18/24 (dkt.

 no. 384), at PageID.4887.]

             Spriestersbach has redacted his personal identifying

 information and that of Thomas Castleberry. Their personal

 identifying information is relevant to the claims and defenses

 in this case. However, motions to seal are

             routinely grant[ed] . . . where “court files
             might . . . become a vehicle for improper
             purposes.” Kamakana [v. City & Cnty. of
             Honolulu], 447 F.3d [1172,] 1179 [(9th Cir.
             2006)] (internal quotations omitted). Documents
             that “may impede Plaintiff’s ‘ability to identify
             and combat future instances of fraud’” may be
             sealed. Activision Publishing, Inc. v.
             EngineOwning UG, 2023 WL 2347134, at *2 (C.D.
             Cal. Feb. 27, 2023) (quoting Soria v. U.S. Bank
             N.A., 2019 WL 8167925, at *4 (C.D. Cal. Apr. 25,
             2019)).

 Clark v. InComm Fin. Servs., Inc., Case No. EDCV 22-1839

 JGB(SHKx), 2024 WL 1600631, at *3 (C.D. Cal. Mar. 13, 2024)

 (some alterations in Clark). This Court finds that there are

 compelling reasons that outweigh the public’s interest in

 accessing judicial records. Spriestersbach’s Motion to Seal is

 therefore granted as to Spriestersbach’s and Thomas

 Castleberry’s personal identifying information. That information

 may be redacted from the publicly filed exhibits and unredacted

 versions of the exhibits may be filed under seal.



                                      5
Case 1:21-cv-00456-LEK-RT Document 505 Filed 07/15/24 Page 6 of 10 PageID.10022



             However, Spriestersbach also proposes to redact what

 appears to be business contact information, such as that of

 Dr. Applebaum and HSH personnel. The compelling reasons that

 exist to seal personal addresses, personal telephone numbers,

 and other personal information do not apply to business

 addresses, telephone numbers, and similar information. This

 Court finds that compelling reasons do not exist and therefore

 denies Spriestersbach’s Motion to Seal as to business addresses,

 telephone numbers, and similar information.

             This Court has also reviewed the other information

 that Spriestersbach proposes to file under seal, including:

 Dr. Applebaum’s hourly rate; information about specific

 medications administered to Spriestersbach; and descriptions on

 indications that Spriestersbach was decompensating, such as his

 fixation on dueling perceived enemies. All of these are relevant

 to Spriestersbach’s claims, the potential defenses, and to the

 damages that Spriestersbach seeks in this case. For example, the

 material is relevant to: Spriestersbach’s state of mind during

 the relevant events; his ability, or lack of an ability, to

 communicate with police officers, his public defenders, and

 personnel at HSH; and how much he understood during the periods

 when he was a patient at HSH. As noted in the 6/24/24 Order,

 Spriestersbach has put his physical and mental health at issue

 in this case. See 6/24/24 Order, 2024 WL 3164698, at *3 (some

                                      6
Case 1:21-cv-00456-LEK-RT Document 505 Filed 07/15/24 Page 7 of 10 PageID.10023



 citations omitted) (citing Second Amended Complaint, filed

 3/29/24 (dkt. no. 362), at ¶ 330 (alleging Dr. Garrett and other

 defendants “ignored [Spriestersbach] claims and determined him

 to be delusional and decompensating, and recommended more

 medication be administered to [Spriestersbach] against his

 will”)). Spriestersbach cannot expect confidentiality regarding

 his health information that is relevant to his claims. See id.

             As noted in the 6/24/24 Order, it is incumbent upon

 the party filing the motion to seal to include only those

 records that the party seeks to rely upon in presenting its

 position, and the party should not be filing records on a

 wholesale basis and then expecting this Court to separate the

 wheat from the chaff. See id. at *4. This Court therefore

 assumes Spriestersbach’s position is that Exhibits 4 through 13,

 including the portions he proposes to file under seal, are all

 relevant to his arguments in opposition to Dr. Garrett’s Motion

 for Summary Judgment. In light of the exhibits’ relevance to the

 issues presented in Dr. Garrett’s Motion for Summary Judgment

 and their relevance to the claims and defenses in this case as a

 whole, this Court finds that there are no compelling reasons to

 seal the materials that Spriestersbach proposes to file under

 seal, except for Spriestersbach’s and Thomas Castleberry’s

 personal identifying information, discussed supra.



                                      7
Case 1:21-cv-00456-LEK-RT Document 505 Filed 07/15/24 Page 8 of 10 PageID.10024



             Spriestersbach’s Motion to Seal is therefore granted

 as to the request to seal Spriestersbach’s and Thomas

 Castleberry’s personal identifying information, and the Motion

 to Seal is denied in all other respects. Spriestersbach is

 ordered to resubmit the redacted and unredacted versions of

 Exhibits 4 through 13 to kobayashi_orders@hid.uscourts.gov by

 July 22, 2024. Only Spriestersbach’s and Thomas Castleberry’s

 personal identifying information may be filed under seal. To the

 extent that there are portions of Exhibits 4 through 13 that

 Spriestersbach no longer wishes to rely upon, those portions of

 the exhibits should be omitted from both the redacted and the

 unredacted versions.

             Spriestersbach is also ordered to file a statement:

 -confirming that Exhibits 4 through 13 have been redacted in
      accordance with this Order; and

 -describing any changes Spriestersbach makes to Exhibits 4
      through 13, such as the omission of materials
      Spriestersbach no longer wishes to consider.

 If a sealed version of any of Exhibits 4 through 13 is not

 necessary, Spriestersbach’s statement shall identify the

 exhibit(s). For example, the version of Exhibit 9 in the 6/28

 Submission and the version of Exhibit 9 in the 7/5 Submission

 appear to be identical. If they are in fact identical, the

 submitted version of Exhibit 9 would be publicly filed, and no




                                      8
Case 1:21-cv-00456-LEK-RT Document 505 Filed 07/15/24 Page 9 of 10 PageID.10025



 unredacted version would be filed under seal. Spriestersbach’s

 statement must be filed by July 22, 2024.

             Spriestersbach is CAUTIONED that, if he fails to

 comply with the terms of this Order, this Court will not

 consider Exhibits 4 through 13 in ruling on Dr. Garrett’s Motion

 for Summary Judgment.

                                 CONCLUSION

             For the foregoing reasons, Spriestersbach’s Motion for

 Leave to File Exhibits 4-13 Under Seal and to File Exhibits 4-13

 Publicly with Redactions, filed June 24, 2024, is HEREBY GRANTED

 IN PART AND DENIED IN PART. The Motion to Seal is GRANTED as to

 Spriestersbach’s and Thomas Castleberry’s personal identifying

 information and DENIED in all other respects.

             Spriestersbach is ORDERED to resubmit redacted

 versions of Exhibits 4 through 13 and, where necessary,

 unredacted versions to this Court for review by July 22, 2024.

 Spriestersbach is also ORDERED to file the statement described

 in this Order by July 22, 2024.

             The hearing on Dr. Garrett’s Motion for Summary

 Judgment will proceed as scheduled on July 15, 2024, at

 2:45 p.m.

             IT IS SO ORDERED.




                                      9
Case 1:21-cv-00456-LEK-RT Document 505 Filed 07/15/24 Page 10 of 10 PageID.10026



             DATED AT HONOLULU, HAWAII, July 15, 2024.




  JOSHUA SPRIESTERBACH VS. STATE OF HAWAII, ET AL; CV 21-00456
  LEK-RT; ORDER GRANTING IN PART AND DENYING IN PART PLAINTIFF’S
  MOTION FOR LEAVE TO FILE EXHIBITS 4-13 UNDER SEAL AND TO FILE
  EXHIBITS 4-13 PUBLICLY WITH REDACTIONS


                                      10
